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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Board of Directors of the Grand Bear Lakes
Townhome Association
                                                    Plaintiff,
v.                                                               Case No.: 1:16−cv−00267
                                                                 Honorable Charles R.
                                                                 Norgle Sr.
Grand Bear Lodge, LLC, et al.
                                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 22, 2016:


       MINUTE entry before the Honorable Charles R. Norgle: Case is voluntarily
dismissed without prejudice [8]. Civil case terminated. Mailed notice(ewf, )




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